4:10-cr-03031-RGK-CRZ              Doc # 74   Filed: 05/21/10    Page 1 of 1 - Page ID # 106




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                     4:10CR3031
                                              )
               v.                             )
                                              )           MEMORANDUM AND ORDER
ALFREDO HERNANDEZ LOPEZ,                      )
                                              )
                      Defendant.              )

       Defendant Lopez has moved to continue the pretrial motion deadline currently set for
May 19, 2010. Filing No. 73. Defense counsel explains additional time is needed to review
discovery material with the defendant and to engage in plea negotiations which may obviate any
need to file pretrial motions. Based on the showing set forth in the defendant’s motion, the court
finds the motion should be granted.


       IT IS ORDERED:

       1)      The defendant’s unopposed motion to continue, (filing no. 73), is granted and the
               defendant’s pretrial motions and briefs shall be filed on or before June 4, 2010.

       2)      The ends of justice will be served by granting defendant’s motion to continue the
               pretrial motion deadline, and outweigh the interests of the public and the
               defendant in a speedy trial, and the additional time arising as a result of the
               granting of the motion, the time between May 19, 2010 and June 4, 2010, shall
               be deemed excludable time in any computation of time under the requirements of
               the Speedy Trial Act, for the reason that the parties require additional time to
               adequately prepare the case, taking into consideration due diligence of counsel,
               the novelty and complexity of the case, and the fact that the failure to grant
               additional time might result in a miscarriage of justice. 18 U.S.C. §
               3161(h)(7)(A) & (B).

       3)      The trial of this case remains set to commence on June 21, 2010 before Judge
               Richard G. Kopf.

               DATED this 21st day of May, 2010.


                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
